AO 91 (Rev. 1111 1) Criminal Complaint                                                                                FILED
                                           UNITED STATES DISTRICT COURT                                            JUN 2 0 2018
                                                                   for the                                    PETER A. MOORE. JR., CLERK
                                                                                                               us Di    er COURT, EDNC
                                                    Eastern District of North Carolina                       BY            L=     DEPCLK
                                                                                                                  /p
                  United States of America                            )
                                  v.                                  )
                   Enrique Antonio-Garcia
                                                                      )       Case No.   6 '. J 8- IJ1 ~ - 0 15lf b - J t/
                                                                      )
                                                                      )
                                                                      )
                              -        -
                                                                      )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _                   Janu~ry 2~_3018               in the county of               Franklin             in the
      Eastern          District of           North Carolina       , the defendant(s) violated:

             Code Section                                                       Offense Description
18 USC 922(g)(5)(A)                               The Defendant, being an alien illegally and unlawfully in the United States,
1a use 924(a)(2)                                  did knowingly possess firearms and ammunition.




          This criminal complaint is based on these facts:
On January 25, 2018, Enrique Antonio-Garcia, who was an unlawful and illegal alien living in the United States without
the permission of the Department of Homeland Security, in violation of 8 USC 1325, did possess firearms and
ammunition, in violation of 18 USC 922(g)(5)(A) and 924(a)(2).




                                                                          ~"'" '"
          ~ Continued on the attached sheet.



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0n this day,  ~f (l. . /f4!v11--.S                                                              Thomas Halvas - HSI SA
                                                                                                  Printed name and title
appeared before me via reliable electronic means, was
placed under oath, and attested to the contents of this
Complaint.


Date:


City and state:                        Raleigh, North Carolina                        James E. Gates, US Magistrate Judge
                                                                                                  Printed name and title




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             IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF NORTH CAROLINA
                       WESTERN DIVISION

                            AFFIDAVIT

     1.     I, Thomas R. Halvas, (hereinafter "your affiant"),
am a Special Agent of the Department of Homeland Security,
Immigration and Customs Enforcement (ICE), Homeland Security
Investigations (HSI) assigned to the Resident Agent in Charge
Raleigh, North Carolina field off ice    (HSI RAC/RA) . I have
been employed with the Immigration and Naturalization Service
 (INS) , and HSI for approximately 21 years, and my duties
include conducting criminal investigations for violations of
Titles 8, 18, 19, 21 , and 31 of the United States Code, to
include vio lations of immigration offenses, attempting to
obtain visas and other immigration status by fraud or false
statements,    and the possession of firearms by aliens
illegally in the United States.

      2.  This Affidavit is made in support of a criminal
complaint   against      Enrique   Antonio-Garcia   (hereinafter
"ANTONIO-GARCIA") for being an unlawful and illegal alien in
possession of firearms and ammunition, in violation of 18
U.S.C §§ 922 (g) (5) (A) and 924 (a) (2). Because this affidavit
is submitted for the limited purpose of securing a warrant to
arrest ANTONIO-GARCIA, I have set forth only those facts that
I believe are necessary to establish probable cause to believe
that ANTONIO-GARCIA committed the above mentioned violations.

     4.   On December 7, 201 7, agents with the Vance Count y
Sheriff's Office (VCSO), the North Carolina State Bureau of
Investigation (SBI) and Homeland Security (HSI) arrested an
individual on narcotics trafficking charges (hereinafter
referred to as "CS") . . During the subsequent interview with
the CS, he stated that he was being supplied with heroin by
a Hispanic male that CS knew as, "TEE". CS stated that "TEE"
lived i n Franklin County and that "TEE" owned a store in
Durham, NC. The CS also stated that "TEE" had been arrested
in Vance County with three (3) other Hispanics and a black
female called "Diamond".     Detective Williams of the VCSO



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looked i nto past arrest reports and found the report that CS
made mention of.   The report included three (3) photographs
of Hispanic males and a photo of "Diamond."

     5. In January 2018, Detective Williams had CS look at
the three (3) Hispanic male photographs.    The CS identified
one of the pictures as "TEE", CS' supplier . The picture that
CS identified was of ANTONIO-GARCIA . Agents learned through
SBI intelligence that ANTONIO-GARCIA owned a store in Durham,
NC and that ANTONIO-GARCIA had a landscaping business.
Through the CS, agents also learned that ANTONIO-GARCIA had
an address of 1039 Joe Ward Road, Louisburg, NC.

      6.   On January 24, 2018, Special Agent (SA) Stephen
Staton   of   the  SBI  and   Detective   Williams  conducted
surveillance in the Joe Ward Road area at which time ANTONIO-
GARCIA was seen driving a red Dodge pickup truck with a
trailer on Epsom Rocky-Ford Road.     SA Staton and Detective
Williams turned around on Epsom Rocky-Ford Road and followed
ANTONIO-GARCIA to the Joe Ward Road location.      A criminal
record check of law enforcement databases revealed that
ANTONIO-GARCIA did not possess a valid NC driver ' s license.
Moreover, HSI investigators were unable to verify the
immigration status of ANTONIO - GARCIA.

     7. On January 25, 2018, officers and agents of the VCSO,
the SBI and HSI again conducted surveillance in the area of
Joe Ward Road.   Detective Williams observed ANTONIO-GARCIA
traveling in a red Dodge pickup truck on Joe Ward Road and
conducted a traffic stop. Detective Williams asked ANTONIO-
GARCIA (the sole occupant of the vehicle) for his driver's
license.  ANTONIO-GARCIA provided Detective Williams wi th a
Mexican ID but spoke only in Spanish to the officer.
Detective Williams requested assistance from SA Castrillon of
HSI (a fluent Spanish speaker) who was participating in the
investigation and stationed nearby.

     8.     SA Castrillon approached ANTONIO - GARCIA'S truck and
identified himself as a Special Agent with Homeland Security,
Immigration and Customs Enforcement. SA Castrillon asked
ANTONIO - GARCIA if he had any other identifying documents with


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him and if he was a citizen of Mexico. ANTONIO-GARCIA advised
he had no driver's license and was a citizen of Mexico.    SA
Castrillon asked ANTONIO-GARCIA if he was illegally present
in the United States.    ANTONIO-GARCIA advised that he was.
ANTONIO-GARCIA asked SA Castrillon if he needed to contact an
attorney.   SA Castrillon told ANTONIO-GARCIA that he could
not give him any advice regarding an attorney.

      9.   SA Castrillon advised ANTONIO-GARCIA that he wanted
to get his immigration history and asked ANTONIO-GARCIA if he
had his Mexican passport with him.     ANTONIO-GARCIA said he
did not have his passport with him and did not know if it was
at his home or at a store that he used to own.        ANTONIO-
GARCIA told SA Castrillon that he used to own a convenience
store and _sold it a couple of weeks earlier.  ANTONIO-GARCIA
told SA Castrillon that he had documents from the sale of his
convenience store in his glove compartment that had his name
on them.

      10. SA Castrillon asked ANTONIO-GARCIA if he would
allow agents to return to his house with him to search for
other identity documents including his passport.    ANTONIO-
GARCIA granted consent and agreed to ride with Detective
Williams and leave his truck parked alongside of the road to
pick -up later.  ANTONIO-GARCIA stepped out of his truck and
SA Castrillon asked ANTONIO-GARCIA if there were any weapons
or items in the truck that could harm the agents.   ANTONIO-
GARCIA advised he did not have anything in the truck other
than ammunition.   ANTONIO-GARCIA attempted to grab a box of
ammunition that was located inside an open compartment in the
driver's side door to give to agents.   The box contained 38
rounds of .270 ammunition.

     11. ANTONIO-GARCIA advised it was ammunition for a
hunting rifle. SA Castrillon asked for consent to search his
truck to see if he was carrying the rifle.     ANTONIO-GARCIA
stated that the rifle was in his house. SA Castrillon advised
ANTONIO-GARCIA that it was illegal for any person who is
unlawfully present in the United States to possess ammunition
or firearms. SA Castrillon collected the ammunition that
ANTONIO-GARCIA had in the truck door compartment and did a


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cursory search of the truck ' s cabin. Additiona l ammunition
was observed in the center console compartment but was not
collected at that time.   The doors to the truck were locked
and the keys were returned to ANTONIO-GARCIA.

     12.   SA Castrillon checked ANTONIO-GARCIA ' S person for
weapons and then ANTONIO-GARCIA got in the front passenger
seat of Detective Williams' vehicle. ANTONIO-GARCIA was not
placed in handcuffs. Detective Williams, SA Staton and SA
Castrillon travelled back to ANTONIO-GARCIA'S residence
located at 1039 Joe Ward Rd, Louisburg , NC.   Upon arrival,
ANTONIO-GARCIA asked Detective Williams, SA Staton and SA
Castrillon if a warrant was needed to search his home or if
we had one.    SA Castrillon advised that a warrant was not
needed if consent was provided. ANTONIO-GARCIA stated it was
fine to enter his home and search but that he did not want
agents t o search his children's bedrooms.

      13. ANTONIO-GARCIA opened the front door and let agents
in. ANTONIO-GARCIA allowed agents to open the children's
bedroom doors for security reasons but the rooms were not
searched.    ANTONIO-GARCIA then led SA Staton and Detective
Williams to the master bedroom and stated that the rifles
were in his bedroom and bathroom. A Marlin .270 caliber rifle
was located in the bedroom. Inside the bathroom , a Winchester
.22 caliber rifle and a Marlin .22 caliber rifle were found.
In addition to the rifles that were located in ANTONIO-
GARCIA' s bedroom and bathroom, SA Staton located a .25 caliber
handgun and ammunition inside luggage in ANTONIO-GARCIA' s
bedroom closet.    Two rounds of .270 ammunition and twenty-
three (23) rounds of .22 caliber ammunition were also seized
from the closet.

      14. While SA Staton and Detective Williams searched the
bedroom, SA Castrillon interviewed ANTONIO-GARCIA regarding
his alienage and obtained some background information.
ANTONIO-GARCIA told SA Castrillon that he illegally entered
the U.S. sometime around the year 2000 along the Arizona
border. ANTONIO-GARCIA advised he was a minor the first time
he attempted to illegally enter the US and was encountered at




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the border and returned to Mexico .   ANTONIO-GARCIA advised
that he was self-employed and owned a landscaping business.

      15.     As the search continued, SA Staton and Detective
Williams located a vacuum sealer with plastic bags in ANTONIO-
GARCIA' s closet. At that point, they stopped the consent
search to obtain a search warrant.         SA Castrillon told
ANTONIO - GARCIA that SA Staton and Detective Williams wanted
to speak with him at the Sheriff's Office regarding his
involvement in narcotics trafficking.     ANTONIO-GARCIA said
that was fine and called a person that was supposed to help
him on a landscaping job to let them know he was going to be
late picking him up.

     16. ANTONIO-GARCIA continued his cooperation t'ollowing
the search and he and agents returned to his truck to recover
the remaining ammunition left in the console. ANTONIO - GARCIA
provided the keys to his truck so an officer could return the
truck to his home and park it. ANTONIO-GARCIA travelled with
Detective Williams to the VCSO.       ANTONIO ~ GARCIA was not
handcuffed. Upon arriving at the Sheriff's Office,          SA
Castrillon advised ANTONIO-GARCIA of his Miranda rights in
Spanish. ANTONIO-GARCIA did not sign the Miranda waiver form;
however, he indicated that he understood his rights and agreed
to speak with agents.

      17. ANTONIO - GARCIA said that about eight (8) y ears ago
a friend gave him the pistol as a gift because his friend was
returning to Mexico.       ANTONIO-GARCIA said that he purchased
ammunition for the pistol and used to keep the gun at the
store. ANTONIO-GARCIA stated that he knew i t was illegal for
him to possess the firearm but he wanted it for protection.
ANTONIO-GARCIA said that the . 270 rifle belonged to his
sister - in - law and that and they were storing it at his home.
ANTONIO - GARCIA said that he purchased the . 270 ammunition
that officers found during the investigation at a Walmart in
Louisburg, NC.        With respect to the .22 caliber rifles,
ANTONIO-GARCIA said that he purchased one for $20 about three
(3) years ago from a guy that was leaving for Mexico and that
he bought the other .22 caliber rifle three (3) to four (4)
months ago for $40. When asked about his involvement in the


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distribution   of   controlled   substances,   ANTONIO - GARCIA
admitted that since about 2014,       he sold a total of
approximately about 1 ~ kilograms of heroin and three (3) to
four (4) ounces of cocaine.

     18. As part of an ongoing investigation being conducted
by HSI Raleigh, I obtained and reviewed the official Alien
File (A-File) pertaining to ANTONIO-GARCIA, that was created
based on his arrest on January 25, 2018 . The A-File, numbered
A#216 4 3 5 542 and maintained by ICE, is in the name of Enrique
ANTONIO - GARCIA and contains ANTONIO-GARCIA'S biographical
information , family history, records of encounters with ICE,
photographs and fingerprints.     Based upon a review of the A-
File, I believe that the file does in fact pertain to the
same ANTONIO-GARCIA involved in this matter.

     19. ANTONIO-GARCIA'S A-File reflects the following
information: (a) ANTONIO-GARCIA is a citizen and national of
Mexico; (b) ANTONIO-GARCIA'S date of birth is July x x, xxxx;
(c) ANTONIO-GARCIA entered the United States at an unknown,
date place, and time by entering without inspection, and is
currently in the United States illegally and unlawfully.


     ~O.   Alcohol, Tobacco, and Firearms (ATF) S / A John
Griffin, an expert in firearms and interstate nexus checks,
was prov ided pertinent information with about the previousl y
listed seized firearms and .270 caliber ammunition. ATF S/ A
Griffin stated that none of the firearms or ammunition were
manufactured within North Carolina and therefore traveled in
and affected interstate or foreign commerce prior to being
received and possessed in North Carolina b y ANTONIO - GARCIA.




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      21 . Based on the foregoing,       I, Thomas R . Halvas,
believe that there is ample probable cause to conclude that
Enrique ANTONIO - GARCIA is guilty of unlawful possession of a
firearm for violation of the provi sions of Title 18, United
States Code, section 922 (g) (5) (A) and 9  (a) (2) .




                            Thomas R . Halvas
                            Special Agent
                            Homeland Security Investigations


On this   l-0 day   of   ],wk_.,          ~ ~~ /J-Mvvk
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                                        electronic means, was placed
                              __,;;.___ contents of this Affidavit.



James E . ates
United States Magistrate Judge
Eastern District of North Carolina




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